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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA

V.                                )      CASE NO. CR413-007

RICARDO JANAINE CRAWFORD,         )
a/k/a Rico,                       )                                   .:
     Defendant.
                                                                      T
                                  )


                             ORDER
                                                             I
     Before the Court is a completed CJA Vouche for

Defendant Ricardo Jamaine Crawford's appointed counsel, Mr.

Chauncey Napoleon Barnwell, seeking payment under 18 U.S.C.

§ 3006A(d) (3) . In the voucher, Mr. Barnwell seeks

$17,656.40 in attorney fees and expenses for his

representation of Defendant in this matter. The Court's

receipt of this voucher precipitated a certain degree of

concern. This was a simple and straightforward case

charging Defendant, along with twenty-two co-Defendants,

with conspiracy to possess with the intent to distribute,

conspiracy to distribute, and unlawful distribution of a

controlled substance. In addition, Mr. Barnwell's

representation did not include the filing of any

substantive motions, instead simply adopting the previously

filed motions of several co-defendants, and appears to have

primarily focused on negotiating a plea agreement with the
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Government. In the Court's experience, Mr. Barnwell's

request for fees and expenses exceeds the average CJA

voucher for an uncomplicated case that ultimately resulted

in his client entering a negotiated guilty plea. Therefore,

the Court has conducted a careful review of Mr. Barnwell's

request and attached materials, along with the record in

this case. As discussed below, the Court concludes that Mr.

Barnwell's request is excessive and must be reduced.

     In reviewing Mr. Barnwell's request, the Court must be

mindful of its obligation to ensure that public funds are

used to compensate appointed counsel only for reasonable

fees and expenses associated with defending an indigent

client. Important is the historical pro bono nature of CJA

representation. For many years members of most judicial

bars were required to represent indigent defendants without

the promise of any compensation from the government.

Indeed, the CJA was designed not as a source of profit, but

rather "was intended to partially alleviate the financial

burden associated with provision of these services which

had been traditionally provided pro bono." United States v.

Diaz, 802 F. Supp. 304, 307 (C.D. Cal. 1992). In this

regard, full compensation for attorneys is and never was

the purpose of CJA funding, United States v. Mukhtaar, 2008

WL 2151798, at *2 (S.D.N.Y. May 21, 2008), because "[t]he


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spirit of the statute is lost once the CJA representation

of indigent defendants loses its essentially pro bono

nature," Diaz, 802 F. Supp at 307. While many attorneys

view the creation of the CJA as a benefit to indigent

defendants, in fact it is the complete opposite. The CJA

exists to benefit attorneys by providing them with some low

level of compensation for pro bono work for which they

would not otherwise receive compensation. Keeping these

principles in mind, the Court now turns to Mr. Barnwell's

voucher.

     After a careful review, the Court concludes that Mr.

Barnwell should be paid fees in the amount of $9,800, the

maximum' allowed under 18 U.S.C. § 3006A(d) (2), and $124.30

in expenses, for a total of $9,924.30, in connection with

his representation of Defendant. The Court notes that Mr.

Barnwell's representation in this matter met the standard

for CJA appointed counsel. In a perfect world, there would

be no discrepancy between the amount of compensation

counsel receives from retained and indigent clients. This,

however, is not the system of which we are a part,

requiring the Court to work diligently and scrutinize CJA

' When asked for a statement justifying the initial request
in excess of the maximum, Mr. Barnwell reduced his demand
to the maximum permitted for CJA representation. Therefore,
waiver of that maximum amount, pursuant to 18 U.S.C.
§ 3006A(d) (3) is not warranted in this case.
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vouchers to ensure that the limited resources set aside for

indigent defense remain sufficient to cover future needs.

     Finally, the Court commends Mr. Barnwell for his

representation of Defendant in this case. The practice of

law is one of the three historical learned professions,

which were traditionally characterized not only by their

specialized training, but also the counsel and service they

provided to others outside of the expectation of material

gain. The Court is sure Mr. Barnwell would agree that

providing competent counsel to indigent defendants absent

the availability of any compensation for counsel's pro bono

efforts both fits with this tradition and appeals to the

highest qualities of character often found wanting in some

members of today's legal profession.

     SO ORDERED this Jday of January 2015.



                                   WILLIAM T. MOORE, 5R.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA




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